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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

SUZETTE MCBRIDE,

                     Plaintiff,

v.                                                   Case No: 6:15-cv-1625-Orl-37KRS

CREDIT PROTECTION
ASSOCIATION, LP,

                     Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

       This cause is before the Court upon the Mediation Report filed June 30, 2016 (Doc

20) indicating that this case has settled. Accordingly, it is:

       ORDERED AND ADJUDGED:

       That the above-styled cause is hereby DISMISSED WITH PREJUDICE, subject to

the right of any party to move the Court within sixty (60) days thereafter for the purpose

of entering a stipulated form of final order or judgment; or, on good cause shown, to

reopen the case for further proceedings. All pending motions are denied as moot and

all deadlines are terminated.

       The Clerk is hereby ordered to close this file.

       DONE AND ORDERED at Orlando, Florida this 5th day of July, 2016.
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Copies:    Counsel of Record




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